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                                                        November 15,2017

VIAECF

Hon. Robert W. Lehrburger
United States Magistrate Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

            Re:            Dardashtian v. Gitman, el al, Case No. 17 Civ 04327

Dear Magistrate Judge Lehrburger:

        This Firm represents defendants Jeremy Falk and Summit Rock Holdings, LLC ("Summit
Rock") in the above-referenced action. I write to request the Court's assistance to address the only
remaining outstanding issue relating to my clients' continued involvement in this action. As
explained more fully below, my clients have executed a settlement agreement with plaintiffs;
however, in order to consummate the settlement agreement, one remaining issue needs to be
documented between plaintiffs and the remaining defendants concerning ownership of one of the
plaintiff entities, Cooper Square Ventures, LLC ("CSV"). Despite plaintiffs' counsel's assurance to
Magistrate Judge Francis on two separate occasions that this issue would be concluded more than a
month ago, this issue has not been finalized in a document.



        Plaintiff Michael Dardashtian ("Dardashtian") commenced this action individually and on
behalf of plaintiffs CSV, NDAP, LLC ("NDAP") and Channel Reply, LLC ("CR LLC") on June 8,
2017. Plaintiffs' 19-count complaint alleges an array of claims against defendants David Gitman
("Gitman"), Accel Commerce, LLC, Dalva Ventures, LLC, Konstantyn Bagaiev, Olekskii
Glukharev and Channel Reply, Inc. At its core, this case is about a dispute between Dardashtian and
Gitman concerning their respective ownership interests in plaintiffs CSV, NDAP and CR LLC.

         The alleged claims against my clients are much narrower and arise from a Services
Agreement, dated March 3, 2017, by which Summit Rock, a limited liability company for which
Mr. Falk is the sole member, was to provide financial and transaction-related consulting services to
CSV and NDAP in connection with the proposed sale ofNDAP and/or NDAP's assets. Pursuant to
the Services Agreement, Summit Rock was to be paid a fee of $110,000 plus a percentage of the
purchase price should the proposed sale ofNDAP closed. In their Complaint, Plaintiffs allege that,
inter alia, Falk and Summit Rock breached their fiduciary duties to CSV by forming a competing
business that used CSV's resources and proprietary information. My clients deny these allegations.

TflE SETfLEME               T AND MAGISTRATE FRA CIS INVOLVEMENT

       After lengthy negotiations, in August 2017, my clients and plaintiffs agreed to the tenns of a
settlement that released my clients from this action. Because Messrs. Dardashtian and Gitman


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dispute their respective ownerships interests in the plaintiff entities, l Mr. Falk and Summit Rock
demanded that both Dardashtian and Gitman execute the settlement agreement on behalf of
plaintiffs and the settlement agreement was drafted in accord with that demand. The settlement
agreement was executed by Mr. Falk, individually and on behalf of Summit Rock, and Mr.
Dardashtian, on behalf of plaintiffs, on August 29,2017 and August 30,2017, respectively.

         However, the settlement agreement still has not been executed by Mr. Gitman on behalf of
the plaintiff entities. In September 2017, the parties appeared before Magistrate Judge Francis at his
request to discuss, among other things, overall settlement of the entire dispute as well as plaintiffs'
settlement with Mr. Falk and Summit Rock. During that conference before Magistrate Judge
Francis, the side issue relating to the ownership of CSV was raised by Mr. Gitman . Mr. Gitman's
counsel presented two options to resolve the ownership dispute holding up the settlement agreement
with my clients: (1) modify the settlement agreement (with a simple one sentence revision in a
whereas clause); or (2) execute a side letter/agreement by which Mr. Gitman would reserve his right
to later challenge the ownership ofCSV.

         On a subsequent October 2017 conference call with Magistrate Judge Francis, plaintiffs'
counsel stated that completing the settlement agreement would not be an issue and further stated
that plaintiffs' settlement with Mr. Falk and Summit Rock would be dealt with expeditiously.

        On Friday, October 20, 2017, plaintiffs ' counsel told me that he was drafting a side letter to
resolve the ownership issue between Gitman and Dardashtian. He asked that my clients remain
patient and stated that he would circulate a draft of the proposed side letter agreement by the end of
the following week or October 27, 2017. Since that date, not only has a side letter agreement not
been circulated, but plaintiffs' counsel has failed to respond to numerous inquiries made me by (via
email and telephone) to resolve this outstanding issue. Moreover, Mr. Gitman' s counsel has
informed me that they have not received any drafts from plaintiffs' counsel.

       I respectfully ask Your Honor to intervene in an effort to conclude the issue of settlement
for my clients. As noted above, Magistrate Judge Francis was previously assured that this final issue
surrounding my clients ' settlement would be concluded expeditiously. I believe that a telephone
conference with the COUit would help bring the parties closer to documenting and finalizing the
remaining issue with respect to settlement.

                                                             Respectfully submitted,'

                                                         ~/(;/4-
                                                             Edward P. Gilbert

cc:         All counsel via ECF


          Plaintiff Dardashtian alleges that the corporate plaintiffs are owned by Mr. Dardashtian and Mr. Oitman
equally -- a 50/50 split. However, my understanding is that Mr. Oitman disagrees and alleges the ownership
interests are not 50/50.



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